         Case 3:17-cv-05714-BHS-GJL Document 93 Filed 03/15/19 Page 1 of 3




1

2

3

4

5

6

7
                                                    DISTRICT JUDGE BENJAMIN H. SETTLE
8                                               MAGISTRATE JUDGE J. RICHARD CREATURA
9                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
10                                   AT TACOMA
11
     NATHAN ROBERT GONINAN, a.k.a.                       NO. 3:17-cv-05714-BHS-JRC
12   NONNIE M. LOTUSFLOWER
                                                         DECLARATION OF ELEANOR
13                                     Plaintiff,        VERNELL IN SUPPORT OF
                                                         DEFENDANTS’ MOTION FOR
14      v.                                               PARTIAL SUMMARY JUDGMENT
15
     WASHINGTON DEPARTMENT OF
16   CORRECTIONS, et al.,

17                                   Defendants.
18   I, ELEANOR VERNELL, make the following declaration:

19           1.    I have knowledge of the facts herein, am over eighteen years of age, and am

20   competent to testify to such facts.

21           2.    I have been employed by the Washington State Department of Corrections since

22   1984. In July 2017, I was appointed to the position of Prisons Deputy Director, Command B at

23   DOC Headquarters in Olympia, Washington. As Prisons Deputy Director, I oversee four of

24   DOC’s twelve prison institutions. This includes the Washington State Penitentiary, Mission

25   Creek Corrections Center for Women, Coyote Ridge Corrections Center, and Washington

26   Corrections Center for Women. I possess extensive knowledge of the Department’s safety,


     DECLARATION OF ELEANOR VERNELL IN               1             ATTORNEY GENERAL OF WASHINGTON
                                                                            Corrections Division
     SUPPORT OF DEFENDANTS’ MOTION FOR                               1116 West Riverside Avenue, Suite 100
     PARTIAL SUMMARY JUDGMENT                                             Spokane, WA 99201-1106
     No. 3:17-cv-05714-BHS-JRC                                                  (509) 456-3123
Case 3:17-cv-05714-BHS-GJL Document 93 Filed 03/15/19 Page 2 of 3
          Case 3:17-cv-05714-BHS-GJL Document 93 Filed 03/15/19 Page 3 of 3




 I                                    CERTIFICATE OF SERVICE
 2          I hereby certify that I caused the foregoing Declaration of Eleanor Vernell in Support of
 3   Defendants' Motion for Partial Summary Judgment to be electronically filed with the Clerk of
 4   the Court using the CM/ECF system which will send notification of such filing to the following:
 5          ANTOINETTE MARIE DAVIS                tdavis(?~aclu-wa.org
 6          KRISTINA MARKOSOVA                    kristinamarkosovagdwt.com
 7          BENJAMIN BYERS                        bbyersgcorrcronin.com
 8          I declare under penalty of perjury under the laws of the United States of America that the
 9   foregoing is true and correct.
10          DATED this           clay of March,    9 at Spokane, Washington.


12
                                                  PAT WILL UGHBY
13                                                Le 1 WILL I
                                                  C0rreeti      is
14                                                1116 West Riverside Avenue, Suite 100
                                                  Spokane, WA 99201-1106
15                                                (509) 456-3123
                                                  PattyWgatg.wa.gov
16

17
18
19
20
21
22
23
24
25
26


     DECLARATION OF ELEANOR VERNELL IN                 3             .ATTORNEY GENERAL OF WASHINGTON
                                                                                 Corrections Division
     SUPPORT OF DEFENDANTS' MOTION FOR                                   1116 West Riverside Avenue, Suite 100
     PARTIAL SUMMARY JUDGMENT                                                 Spokane, WA 99201-1106
     No. 3:17-cv-05714-BHS-JRC                                                     (509) 456-3123
